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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

EUGENE BRUNO, as Permanent              )
Guardians of Kimberly Ward, and         )
JOYCE BRUNO, as Permanent               )
Guardians of Kimberly Ward,             )
                                        )
                   Plaintiffs,          )                 4:07CV3166
                                        )
            V.                          )
                                        )
ADELEKE E. BADEJO, M.D., S. L.          )                    ORDER
SMITH, M.D., and GOOD                   )
SAMARITAN HEALTH SYSTEMS,               )
INC.,                                   )
                                        )
                   Defendants.          )

       IT IS ORDERED that the undersigned’s order dated November 27, 2007 (filing
41) shall be filed under seal.

      November 28, 2007.              BY THE COURT:

                                      S/ Richard G. Kopf
                                      United States District Judge
